 Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.1 Filed 04/13/23 Page 1 of 71




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


T.M.,                                       Case No. 2:23-cv-10852

Plaintiff,                                  Hon.

v.

DETROIT PUBLIC SCHOOLS
COMMUNITY DISTRICT,

Defendant.


 Elizabeth K. Abdnour P78203
 Jacquelyn N. Babinski P83575
 ELIZABETH ABDNOUR LAW, PLLC
 1100 W. Saginaw St., Ste. 4A-2
 Lansing, MI 48915
 Telephone: (517) 292-0067
 Fax: (517) 709-7700
 elizabeth@abdnour.com
 jacquelyn.babinski@abdnour.com

 Attorneys for Plaintiff


                      COMPLAINT AND JURY DEMAND

        Plaintiff T.M., by and through her attorney, ELIZABETH ABDNOUR,

hereby brings this civil action against Defendant Detroit Public Schools Community

District (“the District”) appealing the final administrative decision dismissing

Plaintiff’s state due process complaint under the Individuals with Disabilities



                                       1
  Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.2 Filed 04/13/23 Page 2 of 71




Education Act (“IDEA”), 20 U.S.C. § 1400 et seq. T.M. also alleges the District

violated her right under Title II of the Americans with Disabilities Act (“ADA”), 42

U.S.C. § 12131 et seq., Section 504 of the Rehabilitation Act (“Section 504”), 29

U.S.C. § 794, and the Michigan Persons with Disabilities Civil Rights Act

(“PDCRA”), M.C.L. 37.1101 et seq. This is also an action to redress the deprivation

of Plaintiff’s constitutional rights under the Fourteenth Amendment to the United

States Constitution pursuant to 42 U.S.C. § 1983.

                                     INTRODUCTION

    1. T.M.,1 now eighteen years old, began receiving special education services in

the District in preschool.

    2. Despite T.M.’s diagnoses of Sickle Cell Anemia and Attention-

Deficit/Hyperactivity Disorder (“ADHD”), her lack of academic progress year after

year, as well as her mother, S.C.’s, persistent, vocal concerns about the inadequacy

of T.M.’s accommodations and services, the District failed to comprehensively

evaluate T.M. to assess her educational needs.

    3. Without baseline data on T.M.’s academic and cognitive abilities or periodic

reevaluations, T.M.’s Individualized Education Plan (“IEP”) consisted of

inappropriate, unattainable goals and inadequate services and accommodations.




1 T.M. are the student’s initials.




                                          2
 Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.3 Filed 04/13/23 Page 3 of 71




   4. S.C. repeatedly asked the District for more frequent reporting on her

daughter’s progress and more data and tests to assess the appropriateness of T.M.’s

IEP.

   5. The District either ignored or rejected S.C.’s requests.

   6. T.M. has now graduated high school with elementary or middle school level

reading, writing, and math skills.

   7. Accordingly, T.M. alleges that the District denied her a Free and Appropriate

Public Education (“FAPE”) by failing to evaluate her, failing to draft an IEP

reasonably calculated to meet her educational needs, failing to revise her IEP to

enable her to make progress, and by failing to implement her IEP as written.

   8. T.M. has an interest in doing hair and nails.

   9. She hopes to study business and cosmetology and to one day open her own

salon. (Tr. 204).

   10. However, due to the District’s denial of a FAPE, T.M. lacks the foundational

skills needed to be a productive member of society and to succeed in her post-

graduation plans.

   11. Thus, she now seeks reversal of the ALJ’s decision and compensatory

education services to help her advance as far as possible towards the level of a high

school graduate in reading, writing, and math and to provide her behavioral and

mental supports to address her underlying social-emotional needs.



                                         3
 Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.4 Filed 04/13/23 Page 4 of 71




                            JURISDICTION AND VENUE

   12. This Court has original jurisdiction over Plaintiff’s federal claims under 29

U.S.C. § 626 and 28 U.S.C. § 1331.

   13. This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1343,

which gives district courts original jurisdiction over: (a) any civil action authorized

by law to be brought by any person to redress the deprivation, under color of any

state law, statute, ordinance, regulation, custom, or usage, of any right, privilege, or

immunity secured by the Constitution of the United States or by any Act of Congress

providing for equal rights of citizens or of all persons within the jurisdiction of the

United States; and (b) any civil action to recover damages or to secure equitable

relief under any Act of Congress providing for the protection of civil rights.

   14. The Court also has jurisdiction over Plaintiff’s IDEA claims under 20 U.S.C.

§§ 1415(i)(2)(A) and 1415(i)(3)(A), which confer jurisdiction without regard to the

amount in controversy.

   15. The Court has supplemental jurisdiction over Plaintiff’s state-law claims

under 28 U.S.C. § 1367.

   16. Plaintiff has exhausted all administrative remedies pursuant to 20 U.S.C. §

1415(l).2


2 On April 13, 2021, S.C., on behalf of T.M., filed a Due Process Complaint with the Michigan

Department of Education against the District alleging violations of the IDEA, ADA, Section 504,
and the PDCRA. In an order dated April 30, 2021, the ALJ dismissed all claims brought under


                                             4
 Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.5 Filed 04/13/23 Page 5 of 71




   17. Pursuant to 28 U.S.C. § 1391(b), venue lies in the Eastern District of Michigan

as the Defendant School District is located and operates in the Eastern District of

Michigan and the events and omissions giving rise to this action occurred within the

Eastern District.

                                         PARTIES

   18. Plaintiff T.M. is an eighteen-year-old individual who, at all relevant times,

resided within the Detroit Public Schools Community District in Wayne County,

Michigan.      T.M. has been diagnosed with Sickle Cell Anemia, ADHD,

developmental delays, and speech and language delays. T.M. is eligible for special

education and related services under the IDEA. T.M. is also an individual with a

disability within the meaning of Title II of the ADA, Section 504, and PDCRA as

she has a physical and mental impairment that substantially limits one or more major

life activities including processing information, concentrating, and learning.

   19. Defendant Detroit Public Schools Community District is a local education

agency subject to the provisions of the IDEA. The District was responsible for

providing T.M. a FAPE under the IDEA. 20 U.S.C. §§ 1400-1419. The District is

a recipient of federal financial assistance, subject to the requirements of Section 504,

34 C.F.R. § 104.31 et seq., and a public governmental entity subject to the provisions


the ADA, Section 504, and the PDCRA for lack of jurisdiction. A hearing was held on April 7, 8,
14, and 23, 2022, and the ALJ issued a decision and order dismissing Plaintiff’s complaint on
January 13, 2023.


                                             5
 Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.6 Filed 04/13/23 Page 6 of 71




of the ADA, 42 U.S.C. § 12131, et seq.           The District is a place of public

accommodation subject to the provisions of PDCRA, M.C.L. 37.1101 et seq.

                             LEGAL FRAMEWORK

   20. The IDEA requires that qualifying children with disabilities receive a free and

appropriate public education (“FAPE”). 20 U.S.C. § 1412(a)(1)(A); 34 C.F.R.

§ 300.101(a).

   21. To achieve this goal, the IDEA and its implementing regulations require that

school districts design and develop an individualized education program (“IEP”) for

each qualifying child. 20 U.S.C. §§ 1412(a)(4), 1414(d); 34 C.F.R. §§ 300.112,

300.320-24.

   22. In Endrew F. v. Douglas County School District Re-1, 137 S. Ct. 988, 999

(2017), the Supreme Court defined FAPE as an offer of education, “reasonably

calculated to enable a child to make progress appropriate in light of the child’s

circumstances.” The Court further clarified that, in designing an IEP, “every child

should have the chance to meet challenging objectives,” and the IEP Team must

give, “careful consideration to the child’s present levels of achievement, disability,

and potential for growth.” Id. at 999, 1000.

   23. Pursuant to the IDEA’s Reevaluation mandate, a school district must ensure

that “a reevaluation of each child with a disability is conducted . . . if the local

educational agency determines that the educational or related service needs,


                                         6
 Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.7 Filed 04/13/23 Page 7 of 71




including improved academic achievement and functional performance, of the child

warrant a reevaluation.” 20 U.S.C. § 1414(a)(2)(A)(i); 34 C.F.R. § 300.303(a)(1).

   24. In conducting an evaluation, the IDEA and its implementing regulations

require school districts to, “use a variety of assessment tools and strategies to gather

relevant functional, developmental, and academic information, including

information provided by the parent, that may assist in determining . . . the content of

a child’s [IEP], including information related to enabling the child to be involved in

and progress in the general education curriculum.” 20 U.S.C. § 1412(b)(2)(A)(ii);

34 C.F.R. § 300.303(b)(2).

   25. The IDEA and its implementing regulations also require school districts to

“ensure that the IEP Team . . . revises the IEP as appropriate to address any lack of

expected progress toward the annual goals and in the general education curriculum

. . . ; the results of any reevaluation conducted . . . ; the child’s anticipated needs; or

other matters.” 20 U.S.C. § 1414(d)(4)(A)(ii); 34 C.F.R. § 300.324(b)(1)(ii).

   26. While the IDEA guarantees individually tailored educational services, the

ADA and Section 504 mandate non-discriminatory access to federally funded

programs. See Fry v. Napoleon Cmty. Sch., 137 S. Ct. 743, 756 (2017).

   27. Public schools that receive federal funds must comply with all three statutes,

and the same underlying conduct—including denial of a FAPE—can violate the

IDEA, the ADA, and Section 504 all at once. Id. at 755-56.



                                           7
 Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.8 Filed 04/13/23 Page 8 of 71




   28. Title II of the ADA provides that “no qualified individual with a disability

shall, by reason of such disability, be excluded from participation in or be denied the

benefits of the services, programs, or activities of a public entity, or be subjected to

discrimination by any such entity.” 42 U.S.C. § 12132.

   29. Further, under the Title II of the ADA, covered entities must make “reasonable

modifications in policies, practices, or procedures when the modifications are

necessary to avoid discrimination on the basis of disability . . . .” 28 C.F.R. §

35.130(b)(7).

   30. Similarly, Section 504 of the Rehabilitation Act and its implementing

regulations provide that no one may be excluded from a program receiving federal

funds “solely by reason” of her disability. 29 U.S.C. § 794(a); see also 34 C.F.R. §

104.4(a).

   31. Under Section 504, a school district must provide a FAPE, meaning “the

provision of regular or special education and related aids and services that (i) are

designed to meet individual educational needs of [a child with a disability] as

adequately as the needs of [non-disabled students] are met and (iii) are based upon

adherence to procedures that satisfy the requirements of [34 C.F.R. §§] 104.34,

104.35, and 104.36.” 34 C.F.R. § 104.33(a)-(b).

   32. Michigan’s Persons with Disabilities Civil Rights Act (“PDCRA”) also

guarantees full and equal use of public accommodations, public services, and



                                          8
 Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.9 Filed 04/13/23 Page 9 of 71




educational facilities free from discrimination because of a disability. M.C.L.

37.1102.

   33. The Fourteenth Amendment to the U.S. Constitution, enforceable pursuant to

42 U.S.C. § 1983, provides that no State shall “deprive any person of life, liberty, or

property, without due process of law” nor “deny to any person within its jurisdiction

the equal protection of the laws.” U.S. Const. amend. XIV, § 1.

   34. The PDCRA prohibits public educational institutions from “[d]iscriminat[ing]

in any manner in the full utilization of or benefit from the institution, or the services

provided and rendered by the institution to an individual because of a disability . . .

.” M.C.L. 37.1402(a).

                                        FACTS

   35. T.M. is diagnosed with Sickle Cell Anemia, Attention-Deficit/Hyperactivity

Disorder (“ADHD”), developmental delays, and speech and language delays.

   36. T.M. is hospitalized as often as three to four times a year for three to fifteen

days at a time due to her Sickle Cell Anemia.

   37. The District initially evaluated T.M. for special education services in 2008

when she was three years old and found her to be eligible for special education and

related services as a student with an “other health impairment” (“OHI”) due to her

Sickle Cell Anemia.




                                          9
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.10 Filed 04/13/23 Page 10 of 71




   38. The District provided T.M. with special education services from preschool

through her high-school graduation in June 2022.

   39. During this time, T.M. remained eligible for special education and related

services under the OHI category.

2018-2019 School Year – Ninth Grade

   40. On February 13, 2019, an IEP meeting was held for T.M.

   41. At that time, S.C. expressed her concerns about T.M.’s grades and requested

that the District keep her apprised of T.M.’s academic performance so that she could

be made aware of T.M.’s struggles before seeing a bad grade on her report card.

   42. S.C. also requested more parent-teacher dialogue to ensure T.M. was

receiving the resource support set forth in her IEP.

   43. Included in the February 13, 2019, IEP were T.M.’s results from the Brigance

Inventory of Basic Skills (“Brigance”) Evaluation administered on February 7, 2019.

   44. The results indicated that T.M. was performing significantly below the ninth-

grade level, with word recognition at a seventh-grade level and math skills at a

second-grade level.

   45. An Achieve 3000 evaluation revealed that T.M. had a second or third grade

lexile level.

   46. Despite these alarming results, the District provided T.M. minimal support.




                                         10
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.11 Filed 04/13/23 Page 11 of 71




   47. T.M.’s IEP gave her permission to complete assignments in a resource room

and provided an unspecified amount of extended time to complete assignments.

   48. The IEP also stated that T.M.’s teachers would modify all assignments, yet

failed to include any details regarding how they would do so.

   49. The only modification specifically related to improving T.M.’s second-grade

math skills was use of a calculator on tests.

   50. In terms of direct consultation, the IEP provided T.M. speech and language

services for only thirty minutes, twice a month (1 hour per month) and social work

services for thirty minutes, three times per month (1.5 hours per month).

   51. This was despite documented concerns regarding T.M.’s ability to

comprehend spoken language as well as her socio-emotional or behavior skills.

   52. The IEP stated that T.M. would continue to need “resource support” but did

not specify how often or for what duration she would receive this support, nor did

the IEP specify in what way “resource support” would be provided.

   53. Despite S.C.’s express request for more frequent reporting on T.M.’s progress

so that she would be made aware of issues before seeing a bad grade on T.M.’s report

card, the IEP only called for reporting to S.C. concurrent with the report card periods.

   54. At the IEP meeting, S.C. asked the District for additional testing to assess

T.M.’s needs, as T.M. had not been comprehensively evaluated since 2008 when she

was three years old.



                                          11
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.12 Filed 04/13/23 Page 12 of 71




   55. Despite S.C.’s request, no additional evaluations were done at this time.

   56. Following the February IEP meeting, S.C. had an email exchange with

Charlene Mallory (principal) and Nikolai Vitti (superintendent) regarding the

District having changed some items on T.M.’s IEP without her consent or knowledge

(including a change in the speech therapy frequency) and to express her continued

concerns regarding the inadequacy of services provided by the District and T.M.’s

continued lack of progress.

   57. On or around March 27, 2019, S.C. filed a state complaint with the Michigan

Department of Education (“MDE”) against the District based on the lack of resource

hours, lack of social work services, and lack of speech services. The complaint also

raised the District’s failure to meet T.M.’s transportation needs.

   58. On or around May 28, 2019, S.C. also filed a pro se due process complaint

against the District for its failure to provide T.M. a FAPE for the 2017-2018 and

2018-2019 school years due to the lack of resource support and speech and social

work services.

   59. On or around June 9, 2019, the MDE issued findings in the state complaint.

   60. MDE found that the District denied T.M. a FAPE, that the District failed to

follow the procedures and processes required by the IDEA and MARSE, and that

the District failed to review and revise T.M.’s IEP consistent with the regulations.




                                         12
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.13 Filed 04/13/23 Page 13 of 71




   61. MDE ordered the District to revise T.M.’s IEP, including by providing written

notice of the District’s determination regarding T.M.’s transportation to and from

school.

   62. On or around July 3, 2019, the parties engaged in mediation and reached an

agreement to resolve S.C.’s due process complaint.

   63. The settlement included an award of $13,260 for compensatory education

services to be provided upon receipt of an invoice and log of services.

The District’s Delay in Providing Compensatory Education

   64. S.C. selected Ms. Taylor to provide compensatory education to T.M. pursuant

to the parties’ mediation agreement and submitted a letter from the instructor with

dates and times of services.

   65. More than two weeks later, on or around July 29, 2019, S.C. emailed Marlene

Hunter-Armstrong, Director of Compliance, to follow up about approval and

payment.

   66. The District failed to timely approve the request.

   67. On or around August 9, 2019, S.C. informed Ms. Hunter-Armstrong that Ms.

Taylor withdrew her services because of her concern about timely payments from

the District.

   68. On or around August 9, 2019, S.C. selected Ms. Carey to instruct T.M.




                                         13
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.14 Filed 04/13/23 Page 14 of 71




   69. Ms. Carey made several attempts to turn in her paperwork for approval and

was eventually told that Tammora Green, Supervisor of Compliance, was out of the

office until the end of August.

   70. Shortly thereafter, Ms. Carey withdrew her services to accept a more secure

position.

   71. S.C. immediately submitted two additional candidates for approval, Ms.

Devoe (occasionally referred to by maiden name Gaithers) and Mr. Ernst.

   72. Desperate for T.M.’s compensatory education to begin after the District’s

month-long delay, S.C. asked Ms. Devoe and Mr. Ernst to begin instructing T.M.

and paid them out of her own pocket.

   73. T.M. again followed up with the District on September 10, 2019, this time

through her counsel at the time, Jason Wine.

   74. On or around September 12, 2019, Marquita Sylvia, counsel for the District,

responded stating that S.C. would need to submit a certified teacher for approval.

   75. This certification requirement was not included in the parties’ mediation

agreement.

   76. S.C.’s counsel disputed this requirement in a follow-up email to Attorney

Sylvia on October 29, 2019.

   77. This issue remained in dispute, and on or around December 12, 2019, Ms.

Green called S.C. and informed her that the District would provide something in



                                        14
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.15 Filed 04/13/23 Page 15 of 71




writing the following day regarding next steps. S.C. never received anything in

writing.

   78. S.C. followed up with Ms. Green via email on or around January 12, 2020.

At this point, more than six months had elapsed since compensatory services were

set to begin.

   79. In the meantime, S.C. received two Fs on her report card and continued to

struggle at school.

   80. The first two candidates S.C. submitted for approval were certified teachers;

however, both withdrew due to the District’s delays.

   81. The subsequent two candidates, Ms. Devoe and Mr. Ernst, while not certified

teachers, were a college professor with a Doctoral Degree and former Dean of

Mathematics, respectively.

   82. The dispute remained unresolved through the summer of 2020.

   83. On or around July 7, 2020, Ms. Green emailed S.C. asking if S.C. was

interested in summer virtual compensatory services from the compliance office.

   84. S.C. responded the same day declining virtual learning because she had

already chosen her providers and was awaiting approval.

   85. As she explained, at this point, S.C. had lost confidence in the District and

preferred to use providers of her choosing pursuant to terms of the mediation

agreement.



                                        15
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.16 Filed 04/13/23 Page 16 of 71




   86. In an email from Attorney Sylvia on or around August 21, 2020, the District

reiterated its erroneous position that S.C. was required to submit only certified

teachers for approval.

   87. Given the District’s persistent refusal to approve S.C.’s proffered candidates

pursuant to the parties’ mediation agreement, S.C. submitted a new provider, Darya

Owens, on or around September 25, 2020.

   88. On or around October 26, 2020, S.C. emailed Ms. Green to follow up, as over

a month had passed and the District had not yet approved Ms. Owens.

   89. Although the District had sent out a schedule for Ms. Owens’ services, it had

not approved Ms. Owens for payment.

   90. Ms. Owens was (reasonably) unwilling to begin instructing T.M. without

District approval.

   91. At that point, Ms. Owens had already missed at least six sessions under the

District’s own schedule.

   92. On or around December 2, 2020, a year and a half after the mediation

agreement was signed, the District finally approved a provider, Ms. Owens, to begin

instructing T.M. so she could receive the compensatory education the District had

agreed she was owed.




                                        16
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.17 Filed 04/13/23 Page 17 of 71




   93. By December of 2020, T.M. was well into her junior year of high school

without having made progress towards achieving her math and language goals and

obtaining the skills needed to succeed after graduating.

   94. In addition to the District’s detrimental delay, S.C. was ultimately pressured,

against the terms of the mediation agreement, to select a less preferred and less

credentialed instructor for her daughter’s compensatory education.

   95. Ms. Owens instructed T.M. after school from December 2020 through June

2021 for 20 hours per week.

   96. T.M. had a difficult time with compensatory education in part because it

occurred for four hours each day after a full seven-hour school day.

   97. S.C. requested that the District provide compensatory education on the

weekend to accommodate T.M.’s needs. (Tr. 38).

   98. Despite T.M.’s documented difficulty with concentration and fatigue, the

District refused her request. (Tr. 32-33, 38).

2019-2020 School Year – Tenth Grade

   99. When S.C. met with school staff on or around December 18, 2019, T.M.’s

language arts teacher told S.C. that she did not know T.M. had an IEP.

   100.      On February 11, 2020, the District held a Review of Existing

Evaluation Data (“REED”) meeting for T.M.




                                         17
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.18 Filed 04/13/23 Page 18 of 71




   101.       The REED form relied on T.M.’s results from a February 5, 2020,

Brigance Evaluation, which had revealed that T.M. was performing two grade levels

below in word recognition and maintained a second-grade level in math. T.M. also

performed at the seventh-grade level in reading comprehension.

   102.       The REED form did not include T.M.’s grades.

   103.       Under the parent input section, S.C. expressed her concern that the

District was not providing adequate educational services or fully implementing

T.M.’s IEP.

   104.       The REED form contained no observations by teachers or service

providers.

   105.       Despite T.M.’s lack of progress including two failing grades and S.C.’s

persistent concerns, the District concluded that no additional data was needed to

determine T.M.’s educational needs.

   106.       The District seemed interested only in assessing T.M.’s continued

eligibility for special education services, which was never in doubt given T.M.’s

diagnosis of Sickle Cell Anemia and eligibility as “Otherwise Health Impaired.”

   107.       On the same day, on or around February 11, 2020, the District also held

an IEP meeting.

   108.       The IEP form reiterated S.C.’s concern that the District was not

providing T.M. an appropriate education.



                                         18
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.19 Filed 04/13/23 Page 19 of 71




   109.      The IEP was based on the same February 5, 2020, Brigance Evaluation

indicating below grade-level performance in all tested subjects.

   110.      The Present Levels of Academic Achievement and Functional

Performance (“PLAAFP”) once again noted concerns in reading, math,

communication, and socio-emotional/behavioral skills.

   111.      Despite T.M.’s lack of progress in all subjects, the PLAAFP removed

writing as an area of concern with no explanation.

   112.      The District failed to include a writing goal in T.M.’s IEP despite S.C.’s

express request that one be added.

   113.      When S.C. asked for a writing goal to be included, the District

erroneously told her there was a maximum of two subject areas with a cap of two

goals per subject area.

   114.      Since T.M.’s IEP included two subject areas (reading and math) with

two goals apiece, the District told S.C. it could not add a writing goal.

   115.      Despite T.M.’s lack of progress and the same listed academic and

functional performance concerns, the District reduced the supplementary aids and

services it provided T.M. The IEP no longer permitted teachers to modify all her

assignment and now specified that T.M. would receive only a one-day extension on

assignments.




                                         19
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.20 Filed 04/13/23 Page 20 of 71




   116.       The District continued to provide the same number of consultative

services hours for social work (1.5 hours per month) notwithstanding continued,

documented concerns regarding T.M.’s socio-emotional and behavior skills.

   117.       The District added only one thirty-minute session per month for speech

and language services (1.5 hours per month) despite T.M.’s lack of progress in this

area and documented concerns.

   118.       The IEP stated that T.M. would receive 300 minutes or five hours per

week of special education “resource support” but did not specify what this entailed.

   119.       The IEP once again stated that S.C. would be informed in writing of

progress on goals and objectives only every grading period.

   120.       In any case, the District never provided S.C. progress reports along with

T.M.’s report card.

   121.       At the IEP meeting, S.C. again asked the District to reevaluate T.M. to

assess her needs.

   122.       The District had not comprehensively evaluated T.M. since 2008.

   123.       No additional evaluations were given at this time.

   124.       The IEP included a provision regarding T.M.’s transportation to and

from school, stating that “[T.M] will be picked up by a small vehicle with curb to

curb services . . . .”




                                          20
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.21 Filed 04/13/23 Page 21 of 71




   125.      However, T.M. continued to experience issues with transportation,

often arriving late to school. (Tr. 102-103).

   126.      Several times, T.M. had to start the school year late because the District

did not send someone to pick her up. (Tr. 138).

   127.      These issues continued through T.M.’s senior year.

   128.      T.M. also began experiencing a delay of two to three days in resumption

of transportation services after a hospital stay. (Tr. 100-101).

   129.      S.C. was not reimbursed for days she had to drive T.M. to school herself

when no transportation arrived. (Tr. 138).

2020-2021 School Year – Eleventh Grade

   130.      On or around October 1, 2020, S.C. emailed the IEP Team requesting

a meeting to increase progress reporting and amend T.M.’s distance-learning

modifications during the COVID-19 pandemic.

   131.      A meeting was held on or around October 12, 2020.

   132.      However, despite the presence of a mediator, no agreement was reached

regarding additional accommodations, and T.M.’s IEP remained unchanged.

   133.      On October 13, 2020, S.C. emailed Ms. Green reiterating her request

that a writing goal be added to T.M.’s IEP so that this subject area could be included

in her compensatory education instruction.




                                         21
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.22 Filed 04/13/23 Page 22 of 71




   134.      S.C. pointed out that the IEP did not include any new evaluations or

other data supporting the District’s position that T.M. did not have a deficit in

writing. Thus, S.C. requested that the District provide the underlying evaluations or

data used to create T.M.’s IEP.

   135.      Another IEP meeting was held on or around October 20, 2020, but the

District failed to address S.C.’s concerns and T.M.’s IEP remained unchanged.

   136.      At the IEP meetings on or around October 12, 2020, and October 20,

2020, S.C. repeated her request that the District reevaluate T.M. to assess her needs.

   137.      T.M. had not been comprehensively evaluated since 2008.

   138.      S.C. also repeated her request for any data the District relied on to

formulate T.M.’s IEP.

   139.      Because of the District’s failure to provide the evaluations and data

used to create T.M.’s IEP and the District’s failure to amend the IEP to adequately

support T.M., at this point, S.C. requested an independent educational evaluation

(“IEE”).

   140.      In a letter dated October 16, 2020, the District denied S.C.’s request for

an IEE.

   141.      At the same time, the District agreed to conduct a further REED and an

individualized evaluation “for any suspected areas of disability” “in an effort to

resolve [the] matter without resorting to a due process hearing.”



                                         22
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.23 Filed 04/13/23 Page 23 of 71




   142.      On or around October 26, 2020, S.C. emailed Ms. Green to follow up

on her request for the data supporting T.M.’s IEP.

   143.      S.C. also pointed out that the service logs she received were incomplete

and inaccurate, and that multiple speech and resource sessions were missing.

   144.      In addition, the District failed to properly complete T.M.’s progress

report forms.

   145.      The “comments on progress” sections were often completely blank or

included only minimal boilerplate language such as “progressing as expected.”

   146.      Resource Provider Genise Turner testified that she did not recall why

she did not put any data in the comment sections of T.M.’s progress reports. (Tr.

492).

   147.      Further, S.C. frequently contacted Ms. Turner either by phone or in

person, but Ms. Turner did not discuss T.M.’s progress on goals with her. (Tr. 490).

This occurred only at T.M.’s IEP meetings. (Id.).

   148.      Special Education Teacher Gretchen Madison similarly testified that

she did not know why she did not include data in the comment sections of T.M.’s

progress reports and that she had never been trained to include whether the student

is progressing towards the objective and at what criteria level. (Tr. 378-379).

   149.      A REED meeting was held on or around October 30, 2020.




                                         23
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.24 Filed 04/13/23 Page 24 of 71




   150.      The REED form included T.M.’s prior Brigance Evaluation results

from February 5, 2020.

   151.      The observations by teachers and providers section consisted of two

sentences addressing in general terms T.M.’s fatigue and motivation level. It did not

contain any specific observations related to T.M.’s current performance levels.

   152.      The REED form contained T.M.’s grades broken down by semester

rather than quarter, so it did not include the two “Fs” T.M. received in the first

quarter in language arts and economics.

   153.      The District concluded that additional data was needed to determine

T.M.’s “present level of academic achievement and developmental needs.”

   154.      Despite the lack of data contained in the REED, T.M.’s 2.0 GPA, S.C.’s

persistent concerns, and the District’s own acknowledgement that more data was

needed, the District proposed conducting only an academic achievement test.

   155.      The District had not comprehensively evaluated T.M. since 2008 and

had never administered a cognitive evaluation.

   156.      On or around November 13, 2020, Steven Portnoy, M.A. administered

the Woodcock-Johnson IV Tests of Achievement Form A to T.M.

   157.      The test indicated the following results:

          a. Basic Reading Skills – 9.6 grade level

          b. Reading Comprehension Skills – 6.8 grade level



                                          24
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.25 Filed 04/13/23 Page 25 of 71




          c. Reading Fluency Skills – 5.4 grade level

          d. Math Calculation Skills – 3.2 grade level

          e. Math Reasoning Skills – 4.3 grade level

          f. Written Expression Skills – 5.4 grade level

   158.      Mr. Portnoy’s Report recommended “Tier 2” supports in the subject

areas of reading comprehension, reading fluency, written expression, and math.

   159.      With respect to math, Mr. Portnoy recommended that the District

specifically address both basic calculation and math reasoning skills in T.M.’s IEP

and provide T.M. support from a special education resource teacher.

   160.      In addition to extended time on tests and assignments, access to a

smaller classroom for tests and quizzes, and use of a calculator, Mr. Portnoy noted

that assignments and homework may need modifying.

   161.      On or around December 2, 2020, an IEP meeting was held to review

the results of the evaluation and revise T.M.’s IEP.

   162.      Although the recent Woodcock-Johnson evaluation showed T.M. to be

performing between three and four grade levels behind in Reading Comprehension

and Reading fluency, the District removed reading as an “area of need.”

   163.      Further, despite T.M.’s alarmingly low results on the Woodcock-

Johnson evaluation in math, the District did not provide any direct services for math.




                                         25
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.26 Filed 04/13/23 Page 26 of 71




   164.      The number of direct/consultative services hours for speech and

language and social work services remained at 1.5 hours per month.

   165.      Like the February 11, 2020, IEP, the December 2, 2020, IEP failed to

include as an accommodation that T.M.’s teachers would modify her assignments.

   166.      The IEP provided a mere 300 minutes (five hours) total of special

education “resource support” per week.

   167.      The District also removed assistive technology from T.M.’s IEP

without providing any explanation or justification for the removal.

   168.      Although S.C. repeated her request for more frequent progress

reporting, the IEP continued to only call for progress reporting concurrent with the

regular grading periods.

   169.      The District continued to fail to provide progress reports to S.C.

   170.      Unsatisfied with the District’s limited reevaluation of T.M. and

continued failure to provide adequate support for T.M. in her IEP, S.C. reiterated her

request for an independent evaluation at the December 2, 2020, IEP meeting.

   171.      On or around December 8, 2020, the District granted S.C.’s request for

an IEE, capping the cost for such at $1,500.

   172.      Due to complications arising from the COVID-19 pandemic (closed

agencies, backlogs, etc.) and inflation which had increased provider costs, S.C. was

unable to find a provider within the District’s budget.



                                         26
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.27 Filed 04/13/23 Page 27 of 71




   173.      The District delayed approving S.C.’s request for an increase in funds.

   174.      S.C. ultimately had to compel payment for the evaluation.

   175.      Due to the District’s delays, the IEE was not conducted until on or

around September 1, 2021.

   176.      On or around January 21, 2021, another IEP meeting was held.

   177.      At this point—halfway through T.M.’s junior year of high school—the

District finally increased T.M.’s resource support.

   178.      T.M.’s resource support increased from 300 minutes per week to 600

minutes (ten hours) per week.

   179.      The nature of this support was still undefined.

   180.      Ms. Madison, who provided T.M.’s special education services, testified

that there were not enough hours in the day for resource room time, and that T.M.

would have to skip one of her regular general education courses to attend. (Tr. 358-

359).

   181.      The District also added a reading fluency goal.

   182.      However, the District did not add any additional services,

programming, or accommodations, despite continuing to document T.M.’s

significantly below-grade-level performance.

   183.      The District continued to provide only 1.5 hours per month of

direct/consultative services for speech and language and social work.



                                        27
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.28 Filed 04/13/23 Page 28 of 71




   184.      T.M.’s math goals (both computational and reasoning) remained the

same or were less ambitious than those listed in her December 2020 IEP indicating

a complete lack of progress.

   185.      The District aimed, once again, for T.M.—now in eleventh grade—to

achieve a third or fourth grade level in basic math skills like addition and subtraction

without providing any additional support.

   186.      The January 21, 2021, IEP, like the prior December 2, 2020, IEP, did

not provide any direct services to address T.M.’s stark deficits in math.

   187.      The IEP also failed to include as an accommodation that T.M.’s

teachers would modify her assignments.

Independent Evaluation

   188.      On September 1, 2021, Dr. Jessica Garrett conducted a comprehensive

psychological evaluation of T.M. as an IEE.

   189.      As part of that evaluation, Dr. Garrett conducted a clinical interview of

T.M. and S.C., reviewed T.M.’s results from the Woodcock-Johnson evaluation by

Mr. Portnoy, reviewed T.M.’s current IEP, observed T.M.’s relevant performance

behaviors, and administered the following assessments: Wechsler Adult Intelligence

Scale – 4th Edition, Wechsler Individual Achievement Test – 3rd Edition, Child

Behavior Checklist for Ages 6-18, and the Vineland Adaptive Behavior Scales – 3rd

Edition.



                                          28
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.29 Filed 04/13/23 Page 29 of 71




   190.        Dr. Garrett’s evaluation found that T.M. had an extremely low IQ (2nd

percentile) making it difficult to “keep[] up with her peers in a wide variety of

situations that require thinking and reasoning abilities.”

   191.        Dr. Garrett also found that T.M. had an extremely low ability to process

simple or routine visual material (processing speed).

   192.        T.M.’s academic abilities were also found to be in the extremely low

range. T.M.’s reading level fell at the 2nd percentile and her math and writing levels

fell at or below the 1st percentile.

   193.        At the same time, T.M.’s adaptive skills (i.e., real life skills such as

personal grooming, dressing, safety, ability to work, social skills, and personal

responsibility) fell in an average range.

   194.        Dr. Garrett noted that T.M.’s observed fatigue while testing “may have

had a moderate effect on her capacity to fully express her true abilities.”

   195.        Nevertheless, she concluded that the results were valid and suggested

using the upper end of confidence intervals when possible.

   196.        Despite T.M.’s low cognitive and academic scores, because of her

average adaptive skills, Dr. Garrett concluded that, “T.M. does not fit the profile of

either a student with a Cognitive Impairment or a student with a Specific Learning

Disability.”




                                            29
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.30 Filed 04/13/23 Page 30 of 71




   197.      Based on T.M.’s results, Dr. Garrett concluded that “intensive special

educations services and support” were warranted.

Administrative Due Process Complaint

   198.      On or around April 13, 2021, S.C. filed a due process complaint against

      the District with MDE.

   199.      On April 7, 8, 14, and 23, 2022, a hearing was held before an

Administrative Law Judge (“ALJ”) to address whether the District denied T.M. a

FAPE by:

          1. Failing to comprehensively evaluate T.M. to determine her
             educational needs;

          2. Failing to revise T.M.’s Individual Education Program (IEP) to
             address her alleged inability to access an educational benefit and
             make appropriate progress;

          3. Failing to draft an IEP reasonably calculated to meet T.M.’s
             educational needs and allow her to access an education benefit
             and make appropriate progress; and

          4. Failing to implement T.M.’s IEP as written.

   200.      At the hearing, Dr. Garrett testified to the importance of performing

comprehensive evaluations for students with IEPs, particularly cognitive

assessments, to identify a student’s current level of performance and its impact in

the classroom. (See Tr. 267-268, 275-276).

   201.      According to Dr. Garrett, in her experience as a school psychologist,

the District would have had access to cognitive evaluations. (Tr. 275). She was


                                         30
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.31 Filed 04/13/23 Page 31 of 71




surprised the District had never performed a cognitive evaluation on T.M., testifying

that “even . . . with T.M.’s educational eligibility being otherwise health impaired,

with what we know about sickle cell anemia, with what we know about ADHD . . .

it would be really important to see where her cognitive levels fell at some point [in

order to] have a baseline going forward to see if there was any sort of cognitive

impairment or loss of cognitive skills based on [ ] her complex medical history.”

(Tr. 275).

   202.      If presented with a student like T.M., diagnosed with sickle cell anemia

and ADHD, Dr. Garrett testified that she would have initially conducted a cognitive

assessment and full academic assessment to establish baselines. (Tr. 275-276). Dr.

Garrett would also reevaluate “a student with this complex medical history” every

three years to “see how her cognitive skills are . . . trending . . . [and] to continue to

assess academics to see what’s working [and] what’s not.” (Id.).

   203.      In addition to conducting further testing as part of an initial,

comprehensive evaluation, Dr. Garrett testified that T.M.’s results on the 2020

Woodcock-Johnson evaluation should have prompted the District to conduct follow-

up evaluations to determine “why her scores were so [far] below where we would

expect them to be.” (Tr. 274-275).

   204.      Dr. Garrett testified that given T.M.’s results, she would “understand[]

much less of what was said in a general education classroom [and] what was



                                           31
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.32 Filed 04/13/23 Page 32 of 71




expected of her in a general education classroom” and that “we would expect that

her performance would be much lower than those of her peers.” (Tr. 272). In other

words, she would have difficulty “sitting in a general education classroom . . .

grasping grade level material.” (Tr. 267, 268).

   205.     According to Dr. Garrett, with appropriate education services including

intensive and individualized support, T.M. would be capable of learning and

achieving higher scores than her reading, writing, and math evaluations indicated.

(Tr. 269, 270-271, 287).

   206.     For reading, Dr. Garrett opined that T.M. would need “maximum,

intensive, research-based . . . reading support” such as the Orton-Gillingham

program with built in measures to determine if she was making progress,

emphasizing that “it would . . . be important that it [have] multiple checkpoints

throughout to check her progress.” (Tr. 269-270).

   207.     Dr. Garrett     recommended interventions and         accommodations

including, “intensive interventions in as small a group as possible” with modified

and shortened assignments, as T.M. would not be “expected to do grade level work

when . . . her scores [were] as such.” (Tr. 272). Dr. Garrett also recommended

having “someone . . . sitting with her to . . . gauge what [T.M. is] grasping out of

general education classes.” (Tr. 278). Dr. Garrett further opined that T.M. would




                                        32
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.33 Filed 04/13/23 Page 33 of 71




need “frequent breaks” with “a plan so she knew how to utilize those breaks.” (Tr.

273, 279).

   208.      Dr. Garrett also testified that T.M. would have benefited from assistive

technology, like audio books and speech to text software. (Tr. 286-287).

   209.      When a student experiences an extended absence due to hospitalization

like T.M., Dr. Garrett explained that, based on her experience as a school

psychologist, a school district would typically provide special education services by

sending a certified teacher to the hospital or child’s home. (Tr. 294-295).

   210.      The District never considered this option for T.M. even though her

Special Education Teacher, Ms. Madison, had concerns about the amount of school

T.M. missed due to her hospitalizations and the fact that T.M.’s resource providers

had discussed amongst themselves how such a program could have benefited T.M.

(Tr. 440-442).

   211.      Dr. Garrett concluded that the District’s current accommodations and

services for T.M. were insufficient to allow her to make progress in the general

education curriculum. (Tr. 272, 273, 278, 279).

   212.      In particular, Dr. Garrett stated that the duration (five hours per week)

and type of resource support the District provided were inadequate. In her opinion,

T.M. would need someone “sitting with her every class throughout the school day

to ensure that she’s understanding [the material].” (Tr. 278-279, 285).



                                         33
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.34 Filed 04/13/23 Page 34 of 71




   213.      Moreover, Dr. Garrett testified that T.M.’s current reading, writing, and

math goals were not appropriate for T.M. based on her current performance levels,

and that the goals expected significantly more than T.M. was capable of performing

given their focus on grade level criteria and T.M.’s significantly lower performance.

(Tr. 279-280, 282, 285).

   214.      Dr. Garrett did not believe that the frequency and duration of services

provided would have allowed T.M. to meet the stated goals. (Tr. 285-286).

   215.      For example, Dr. Garrett was perplexed by how the District expected

T.M. to advance from a third grade to a fourth or fifth grade level in math by

attending a high school math class without more support. (Tr. 280).

   216.      Similarly, Dr. Garrett felt it would be “impossible” for T.M. to achieve

her speech and language goals with “just three . . . 30 minute sessions a month.” (Tr.

285-286).

   217.      Mr. Portnoy, who conducted T.M.’s 2020 Woodcock-Johnson

evaluation, testified that without additional testing “it’s hard to say what’s causing

[T.M.’s] scores,” further stating that “the fact that [the District] asked for only

achievement testing . . . leaves me at a little bit of a loss to say why any of this would

be one way or another.” (Tr. 457).




                                           34
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.35 Filed 04/13/23 Page 35 of 71




   218.      However, Mr. Portnoy testified that he did not request additional testing

because “The REED [ ] made pretty clear that [the District] did not feel that she was

going to be changing her eligibility.” (Tr. 458).

   219.      Thus, Mr. Portnoy’s testimony confirms that his only aim was assessing

T.M.’s eligibility for special education services—which was never in doubt—rather

than assessing her individual educational needs.

   220.      Mr. Portnoy acknowledged that additional testing, such as a cognitive

evaluation would have provided useful information for understanding T.M.’s low

achievement scores and would have informed appropriate accommodations and

services. (Tr. 458).

   221.      Mr. Portnoy reiterated his recommendation for “Tier 2” supports,

which according to his testimony could include small group work, a study buddy,

additional remedial work, a multi-tiered support system (“MTSS”), and modified

assignments. (Tr. 459-460).

   222.      With respect to math, Mr. Portnoy acknowledged that T.M. would

“need[] remediation to bring her up,” given that she was performing at the third grade

level while taking a high school math course. (Tr. 462).

   223.      Ms. Owens, who instructed T.M. from December 2020 through June

2021 for 20 hours per week as part of compensatory education ordered in the June

2019 mediation agreement testified that she quickly found that the information in



                                         35
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.36 Filed 04/13/23 Page 36 of 71




T.M.’s IEPs about T.M.’s abilities and academic levels was “very misleading.” (Tr.

18-23, 25).

   224.         For example, Ms. Owens thought, based on T.M.’s IEP, that she knew

how to do division and began working on an algebraic expression that involved

division, but realized T.M. did not know how to divide – so she had to “work back”

and come up with entirely different, more basic, material to work on. (Tr. 25).

   225.         Ms. Owens had to undo and reformulate her whole program due to the

discrepancies between what she read in T.M.’s IEP and what she found T.M.’s actual

abilities to be while working with her. (Tr. 25).

   226.         Ms. Owens further testified that this need to constantly backtrack made

T.M. feel unmotivated and caused her to “shut[] down” because T.M. felt that she

was being seen or treated “as a baby.” (Tr. 25-27). According to Ms. Owens, things

would have started out more smoothly if the District provided her an accurate

assessment. (Tr. 27). In sum, Ms. Owens testified that she would have been able to

instruct T.M. more effectively if the District had provided an accurate assessment.

(Tr. 25, 27).

   227.         The ALJ issued an opinion on January 13, 2023, finding that the District

did not deny T.M. a FAPE.




                                           36
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.37 Filed 04/13/23 Page 37 of 71




                                       COUNT I
                            Violation of the Individuals with
                Disabilities in Education Act, 20 U.S.C. § 1400, et seq.,
                         and implementing federal regulations

   228.     The ALJ ignored much of the ample evidence in the record

demonstrating the District’s denial of a FAPE, reached several erroneous

conclusions of fact and law, and gave undue deference to the District’s witnesses.

The ALJ also committed errors of law by not considering several issues properly

submitted for consideration.       Accordingly, Plaintiff seeks review of the

administrative decision as to all issues presented. Reversal is warranted under the

“modified de novo” standard and based upon a preponderance of the evidence in the

record.

The District Failed to Evaluate T.M.

   229.     The ALJ first erroneously concluded that the record does not support a

finding that T.M. failed to make academic progress and that consequently, additional

evaluations of T.M. were not needed. The ALJ specifically held that the fact that

T.M. graduated on time despite her circumstances precluded a finding that she failed

to make academic progress. Yet, in doing so, the ALJ applied the long-rejected

reasoning that “every handicapped child who is advancing from grade to grade in a

regular public school system in automatically receiving a ‘free appropriate public

education.’” Bd. of Educ. of Hendrick Hudson Cent. Sch. Dist. v. Rowley, 458 U.S.

176, 203, n.25 (1982)).


                                        37
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.38 Filed 04/13/23 Page 38 of 71




   230.      Further, the ALJ ignored the ample evidence in the record evincing

T.M.’s lack of progress, including the fact that T.M.’s IEP goals remained largely

unchanged—or even decreased in ambition, as was the case with her math goals—

year after year (which the ALJ later acknowledged).

   231.      The ALJ also ignored evidence in T.M.’s IEPs and academic

achievement evaluation results demonstrating that she continued to perform

significantly below grade level. For example, on both the 2019 Brigance evaluation

and 2020 Woodcock-Johnson, T.M. performed seven years-plus below her grade

level in math despite advancing from the ninth to eleventh grade. To give another

example, on both a February 2020 Brigance evaluation and the November 2020

Woodcock-Johnson evaluation, T.M. maintained an approximately seventh-grade

level in reading comprehension despite advancing from the tenth to eleventh grade.

   232.      The ALJ also ignored the testimony of T.M.’s compensatory education

instructor, Ms. Owens, that T.M. did progress in her time with her.

   233.      By the time T.M. graduated, she continued to maintain elementary and

middle school levels in core subjects of math, reading, and writing.

   234.      In short, a review of the record reveals by the preponderance of the

evidence that T.M. failed to make meaningful academic progress.

   235.      The ALJ next attempted to place the blame on T.M.’s mother, S.C., for

not specifically requesting a cognitive evaluation.



                                         38
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.39 Filed 04/13/23 Page 39 of 71




   236.      This ignored evidence in the record that the District did not provide

S.C. with progress reports or otherwise keep S.C. apprised of T.M.’s progress despite

S.C.’s repeated requests for more frequent reporting and complaints about the

incomplete nature of the reports that she did eventually receive.

   237.      Thus, S.C. did not have adequate information to judge what specific

further testing would help understand her daughter’s educational needs.

   238.      That S.C. was interested in a comprehensive test of her daughter is

demonstrated by the fact that she requested an independent, comprehensive

evaluation both before and after Mr. Portnoy’s limited academic achievement

testing—which the District denied and then delayed.

   239.      Further, the ALJ mischaracterized and ignored relevant portions of Mr.

Portnoy’s testimony regarding the utility of a cognitive evaluation.

   240.      The ALJ paraphrased Mr. Portnoy’s testimony as conveying that

“cognitive testing may provide evidence of a learning disability, depending on the

score,” concluding that “[b]eyond Mr. Portnoy’s comment, [ ] Petitioner has

presented no argument or evidence showing how cognitive testing may have been

indicative of a learning disability.”

   241.      This summation misses the mark.          The District had an ongoing

obligation to evaluate T.M. both initially and every three years thereafter not only to




                                         39
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.40 Filed 04/13/23 Page 40 of 71




determine her eligibility but also to assess her disability-related needs in the

classroom. 34 C.F.R. §§ 300.301, 303.

   242.      To that end, Mr. Portnoy more relevantly testified that additional

testing, including a cognitive evaluation, would have provided information relevant

to understanding T.M.’s low achievement scores and would have informed

appropriate accommodations and services. (Tr. 458).

   243.      As noted above, Mr. Portnoy and the District did not seek additional

testing because T.M. remained eligible for special education services under the

IDEA classification of OHI. The District demonstrated a complete lack of curiosity

to understand T.M.’s individual educational needs despite her low performance, and

in doing so violated T.M.’s rights under the regulations and denied her a FAPE.

   244.      Similarly, the ALJ erroneously reasoned that because Dr. Garrett’s

comprehensive evaluation showed that T.M. did not qualify as either cognitively

impaired or as a student with a specific learning disability “. . . there is no reason to

conclude that a full psychological evaluation of [T.M.] in 2020 would have merited

any different approach to her eligibility or the services provided.” (emphasis added).

This conclusion is both illogical and ignores the more relevant portions of Dr.

Garrett’s testimony.

   245.      Dr. Garrett testified that the District should have performed a cognitive

evaluation of T.M. at the outset to gain a baseline with reevaluations every three



                                          40
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.41 Filed 04/13/23 Page 41 of 71




years and that the District had further cause to perform such an evaluation after

T.M.’s poor results on the 2020 Woodcock-Johnson evaluation.

   246.      Like Mr. Portnoy, Dr. Garrett testified that further testing, including a

cognitive evaluation, would have provided insights into why her achievement scores

were so low. (Tr. 274-275).

   247.      Further, Dr. Garrett testified that based on her own, comprehensive

evaluation, the District should have indeed taken a different approach to T.M.’s

services, most notably by giving modified assignments and frequent breaks, (273,

279), and having someone “sit[] with her every class throughout the school day to

ensure that she’s understanding [the material].” (Tr. 278-279) (emphasis added).

T.M. needed “maximum[,]” “intensive, individualized support,” (269, 270), and the

District did not provide that.

   248.      T.M.’s resource providers did “push-in” to some extent meaning they

attended her classes at times to follow what material was being covered, but from

February 2019 to January 2021 the District provided a mere 300 minutes or five

hours per week of total special education resource support. This increased to 600

minutes or ten hours per week in January 2021 (halfway through T.M.’s junior year).

   249.      Moreover, resource provider Gretchen Madison testified that there was

not enough time in the day for T.M. to take advantage of the resource room. (Tr.

358-359). T.M. would have to skip one of her regular general education courses to



                                         41
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.42 Filed 04/13/23 Page 42 of 71




seek support in the resource room, and thus she did not frequently do this to avoid

falling further behind. (Id.).

   250.      The ALJ also gave undue weight to the opinions of the District’s

professional staff, reasoning that they spent more time with T.M.

   251.      The Sixth Circuit has recognized the flaw in this approach, explaining

that “[i]f the law were that a court must defer to the opinions of those who spend the

most time with the student and presumably know him best, then there would be no

place for experts.” L.H. v. Hamilton Cnty. Dep’t of Educ., 900 F.3d 779, 794 (6th

Cir. 2018). If deference were always given to the student’s teachers, “parents could

never prevail because the student’s teachers will always spend more time with the

student or know the student better than the parents’ hired experts.” Id.

   252.      Unlike the District, Dr. Garrett performed a comprehensive evaluation

of T.M., and she thus had information about T.M.’s abilities that the District never

bothered to obtain.

   253.      Further, Dr. Garrett’s testimony that the District’s services were

inadequate to meet T.M.’s needs is corroborated by the testimony of T.M.’s

compensatory education instructor, Ms. Owens, who immediately realized upon

beginning to work with T.M. that her academic levels and abilities were far below

how they were portrayed by the District in her IEP. (Tr. 18-23, 25).




                                         42
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.43 Filed 04/13/23 Page 43 of 71




   254.      The ALJ also failed to consider how a comprehensive evaluation and

periodic reevaluations of T.M. would have not only changed the District’s approach

to the type and degree of services she received but would have also made the services

she did receive more effective.

   255.      With a better understanding of T.M.’s true abilities, the District could

have formulated appropriate goals, her teachers and resource providers could have

been more aware of how much of the general education curriculum T.M. was

understanding and provided appropriate help, and her compensatory education with

Ms. Owens could have been more successful.

   256.      These considerations all demonstrate how the District’s failure to

evaluate T.M. resulted in denial of a FAPE.

   257.      Moreover, the ALJ erroneously held that to the extent Plaintiff argued

the District violated the IDEA by not conducting an initial cognitive evaluation in

2008, that issue was outside the scope of the proceeding which was limited to actions

and omissions after the July 2019 mediation agreement resolving Plaintiff’s prior

due process complaint.

   258.      This is clear legal error. As the record makes plain, the District never

conducted a cognitive evaluation of T.M., including after July 2019.




                                        43
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.44 Filed 04/13/23 Page 44 of 71




   259.      S.C. obtained a cognitive evaluation for her daughter independently in

September 2021 only after it became clear to her that the District was not interested

in understanding T.M.’s lack of progress and low academic achievement scores.

   260.      The District’s failure to comprehensively evaluate and reevaluate T.M.,

as required by the regulations continuously denied her a FAPE.

The District Failed to Draft Reasonably Calculated IEPs

   261.      The ALJ also made several errors of fact with respect to Plaintiff’s

claim that the District failed to draft appropriate IEPs.

   262.      In the recitation of facts, the ALJ acknowledged that T.M.’s speech and

language goals remained “largely unchanged” and that her math goals in fact became

less ambitious between February 2020 and January 2021. Yet, the ALJ later

concluded that the District modified T.M.’s goals “in a manner consistent with [her]

progress or lack thereof.”

   263.      With respect to speech and language, the ALJ correctly recognized at

T.M.’s goals remained the same despite her advancement to the next grade level year

after year. This is evidence that the initial goals were unattainable based on T.M.’s

abilities and the insufficient services provided.

   264.      Similarly, the fact that T.M.’s math goals became significantly less

ambitious over time indicates that for years, the goals were inappropriately




                                          44
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.45 Filed 04/13/23 Page 45 of 71




ambitious, and that the District provided inadequate and inappropriate support in this

subject area.

   265.         The inappropriateness of T.M.’s goals is corroborated by Ms. Owens’

testimony that she began working on algebraic equations with T.M. only to find that

she did not know how to divide. (Tr. 25).

   266.         The inappropriateness of T.M.’s goals is also corroborated by Dr.

Garrett’s testimony, (Tr. 279-281, 283-285), which the ALJ did not consider.

   267.         The ALJ makes several errors of fact with respect to the District’s

inclusion of a writing goal in T.M.’s IEP.

   268.         The ALJ simply states that the District added a writing goal to T.M.’s

2020 IEP at S.C.’s request. This omits the fact that the District first inexplicably

removed the writing goal from T.M.’s February 11, 2020, IEP despite S.C.’s express

request that one be included. The District told S.C. it could not add more than two

subjects with two goals each.

   269.         The ALJ agreed that there is no such cap of four goals but did not

address why then the District gave S.C. this blatantly erroneous response to her

request for an additional goal.

   270.         That the District finally added a writing goal back in almost a full year

later is a prime example of the District’s lack of responsiveness to S.C.’s concerns




                                            45
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.46 Filed 04/13/23 Page 46 of 71




as well as the District’s repeated formulation of T.M.’s IEPs without a grounding in

data about her abilities and educational needs.

   271.      In addition, the ALJ made an error of law by failing to consider whether

the District’s denial of S.C. a meaningful participatory role in formulating T.M.’s

IEPs amounted to denial of a FAPE, including the District’s failure to provide S.C.

with data they relied on to draft T.M.’s IEPs.

   272.      As set forth in 20 U.S.C. § 1415(b)(7)(A)(iii), a due process complaint

need only include “a description of the nature of the problem of the child relating to

such proposed initiation or change, including facts relating to such problem.” This

is a low pleading standard that requires providing enough specificity “to allow the

responding party to understand what the Petitioner believes the Respondent has done

or failed to do . . . and how that action or inaction has harmed or interfered with

Petitioner’s education.” F.C. v. Tenn. Dep’t of Educ., No. 3:16-cv-613 (M.D. Tenn

Mar. 6, 2017).

   273.      As a 2003 Senate Committee Report elaborates, the pleading standard

for a due process complaint need not “reach the level of specificity and detail of a

pleading or complaint filed in a court of law” with its purpose being to “ensure that

the other party . . . will have an awareness and understanding of the issues forming

the basis of the complaint.”           S. Rep. No. 108-185, at 34 (2003),




                                         46
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.47 Filed 04/13/23 Page 47 of 71




https://www.congress.gov/108/crpt/srpt/CRPT-108srpt185.pdf (accessed Mar. 12,

2023).

   274.      T.M.’s due process complaint contained numerous allegations related

to the District’s refusal to allow S.C. to meaningfully participate, including the

District’s failure to provide information it relied on to develop T.M.’s IEPs. (See,

e.g., Due Process Complaint at ¶¶ 16, 55, 58, 63, 82). This issue was also addressed

at length during the administrative hearing. (See, e.g., Tr. 86, 145-146, 159, 166).

   275.      The April 30, 2021 Order identifying the issues to be covered at the

administrative hearing included whether the District denied T.M. a FAPE by

“[f]ailing to draft an IEP reasonably calculated to meet T.M.’s educational needs and

allow her to access an educational benefit and make appropriate progress.”

Plaintiff’s allegation that T.M.’s IEPs were not reasonably calculated to meet her

educational needs because of the District’s failure to meaningfully inform and

involve S.C. in the process fits squarely within this identified issue.

   276.      This issue was properly presented for review, yet not addressed by the

ALJ, and should therefore be considered de novo. See Metro. Nashville Davidson

Cty. Sch. v. Guest, 900 F. Supp. 905, 907 (M.D. Tenn. 1995) (addressing issue not

decided by ALJ de novo).




                                          47
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.48 Filed 04/13/23 Page 48 of 71




   277.      The ALJ’s finding that the District did adequately involve S.C. and

respond to her concerns is not supported by the preponderance of the evidence in the

record.

   278.      Most notably, the ALJ ignored S.C.’s testimony that the District never

provided her progress reports, (Tr. 166), and that T.M.’s resource providers did not

meaningfully fill out T.M.’s progress reports in a way that would have allowed S.C.

to assess her progress or needs. (Tr. 378-379, 492). Nor did the ALJ consider that

the District denied S.C.’s persistent requests to increase the frequency of the

reporting requirement in T.M.’s IEPs. The ALJ did not consider that the District

ignored S.C.’s requests—at the February 2019, February 2020, and October 2020

IEP meetings—for additional evaluations of T.M., and that the District provided the

2020 Woodcock-Johnson evaluation only after denying S.C.’s request for an

independent evaluation to avoid a further due process complaint. (Tr. 46). The

District then impeded and delayed S.C.’s efforts to obtain an independent evaluation

after finally approving her request. Finally, as discussed above, the ALJ omitted the

fact that the District baselessly denied S.C.’s request for the addition of a writing

goal in T.M.’s February 11, 2020, IEP. The District prevented S.C. from gaining

information that would have allowed her to understand her daughter’s needs, and

thus would have allowed her to meaningfully participate.




                                        48
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.49 Filed 04/13/23 Page 49 of 71




   279.      The ALJ’s factual conclusions to the contrary were unsupported and

ignored critical evidence in the record.

The District Failed to Revise T.M.’s IEPs

   280.      With respect to the District’s failure to revise T.M.’s IEPs in light of

T.M.’s lack of progress, the ALJ held that he could not rely on Ms. Owens’ progress

notes indicating T.M.’s true, lower abilities and lack of progress, as they were not

submitted in the record, even though Ms. Owens testified at the hearing that she

found T.M.’s abilities in math, reading, and writing to be lower than represented on

her IEP, that T.M. failed to make progress while working with her, and that she sent

weekly progress reports to the District reflecting as much. (Tr. 18-23, 25-27). In

any case, T.M. plans to seek leave to expand the record to include Ms. Owens’

progress notes.

   281.      Moreover, as detailed above, the ALJ did not consider other evidence

in the record evincing T.M.’s lack of progress, including the fact that T.M.’s IEP

goals remained largely unchanged—or decreased in ambition—year after year while

the type and degree of services remained the same. For example, T.M.’s February

2019 math goal indicated she would aim to solve multi-step problems, while her

February 2020 math goal included the much more basic skills of subtraction and

division.   Yet, the District did not add any accommodations or services to




                                           49
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.50 Filed 04/13/23 Page 50 of 71




specifically address T.M.’s elementary-school math abilities, such as modified

assignments or direct services.

   282.      The District’s failure to meaningfully revise T.M.’s IEP became even

more egregious following Mr. Portnoy’s 2020 Woodcock-Johnson evaluation. On

this score, the ALJ simply concluded that “most if not all of [Mr. Portnoy’s

recommendations] were . . . incorporated into [T.M.’s] IEPs.”

   283.      This conclusion is not supported by the record.

   284.      For math, Mr. Portnoy’s Report specifically recommended that the

District provide support from a special education resource teacher and noted that

modification of assignments may be needed.           At the hearing, Mr. Portnoy

emphasized that T.M. would “need[] remediation [in math] to bring her up,” (Tr.

462), as she was performing at the third grade level while taking a high school math

course. Yet, in T.M.’s December 2020 IEP, the District did not provide any new

accommodations or services to specifically address T.M.’s poor math performance,

such as modified assignments or direct services. Further, Mr. Portnoy’s report

simply identified “Tier 2” as the appropriate level of support for T.M. and provided

examples, generally, of what that may entail. The report expressly stated that the

list provided was not exhaustive. Mr. Portnoy clarified at the hearing that his report

merely provided examples of what Tier 2 supports could include, noting that Tier 2




                                         50
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.51 Filed 04/13/23 Page 51 of 71




support entails “all sorts of possibilities” and could include remedial work. (Tr.

439).

   285.      Beyond the District’s failure to revise T.M.’s IEP to provide adequate

support in math after the Woodcock-Johnson evaluation, the District also failed to

revise her IEP with respect to her other identified areas of need. For example,

although the November 2020 Woodcock-Johnson evaluation demonstrated that, in

eleventh grade, T.M. continued to have roughly a seventh-grade reading

comprehension level and a fifth-grade reading fluency level, the District removed

reading as an area of need from T.M.’s December 2020 IEP. The District added a

reading goal back in in January 2021, this time inexplicably focusing only on reading

fluency rather than reading comprehension.

   286.      In December 2020 and January 2021, the District continued to provide

only 1.5 hours per month of direct services for speech and language.

   287.      Further, the ALJ did not consider the District’s failure to revise T.M.’s

IEPs in light of S.C.’s persistent concerns about the adequacy of T.M.’s educational

services. As discussed above, one example of this is the District’s refusal to add a

writing goal into T.M.’s February 11, 2020, IEP despite S.C.’s request.

   288.      As detailed above, S.C. repeatedly expressed concern that her daughter

was not receiving adequate services, but those concerns were largely ignored.




                                         51
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.52 Filed 04/13/23 Page 52 of 71




The District Failed to Implement T.M.’s IEPs

   289.       Finally, the ALJ did not fully address T.M.’s claim that the District

failed to implement her IEPs.

   290.       Plaintiff asserted that Ms. Owens, who provided compensatory

education to assist T.M. in meeting her IEP goals, was unable to effectively

implement T.M.’s IEP because the plan, as written, did not accurately reflect T.M.’s

abilities in reading or math.     In addition, the District did not allow T.M.’s

compensatory education to occur on the weekend, requiring the four-hour-long

instructional sessions to occur after a full school day despite of the District’s

awareness of T.M.’s struggles with concentration and fatigue. In short, Plaintiff

asserted that the District prevented Ms. Owens from implementing T.M.’s IEP.

   291.       T.M.’s classroom teachers provided testimony about not having enough

hours in a day and one even testified to not even knowing that she had an IEP. These

teachers were responsible for implementing the IEP services and accommodations

themselves.

   292.       The ALJ mistakenly interpreted Plaintiff’s claim to be that Ms. Owens’

testimony concerning T.M.’s low academic abilities demonstrated that the District

had not been properly implementing her IEPs.




                                         52
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.53 Filed 04/13/23 Page 53 of 71




   293.       Accordingly, Plaintiff’s failure to implement claim, as clarified above,

should be addressed de novo. See Metro. Nashville Davidson Cty. Sch., 900 F. Supp.

at 907.

   294.       In any case, the ALJ erroneously concluded that, “Petitioner has not

shown by a preponderance of the evidence that Darya Owens’s estimation of

[T.M.’s] abilities . . . were a more reliable and accurate indicator than [T.M.’s]

performance on the academic achievement evaluation administered by Mr.

Portnoy.”

   295.       Mr. Portnoy’s evaluation of T.M., unlike Dr. Garrett’s later evaluation,

did not provide a complete picture of T.M. abilities, as it did not include a cognitive

evaluation.   Dr. Garrett’s comprehensive evaluation corroborated Ms. Owen’s

observations about T.M.’s low academic abilities.

   296.       Thus, the ALJ both failed to account for Dr. Garrett’s testimony and to

explain why he found Mr. Portnoy’s testimony more reliable despite Mr. Portnoy’s

more limited evaluation.

The ALJ erroneously failed to consider Plaintiff’s failure to train and
transportation-related allegations

   297.       The ALJ committed an error of law by failing to address three

additional issues that were properly presented for decision.

   298.       The first issue relates to the District’s failure to properly train its

professional staff. The factual “failure to train” allegations contained in Plaintiff’s


                                         53
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.54 Filed 04/13/23 Page 54 of 71




closing brief, which were also covered at length at the due process hearing, (see, e.g.,

Tr. 378-379, 492), relate to T.M.’s resource providers’ failure to properly fill out

progress reports and service logs, which would have allowed S.C. to be informed of

her daughter’s progress or lack thereof. This would have in turn allowed S.C. to

meaningfully participate in the drafting of T.M.’s IEPs. It would also have informed

other members of T.M.’s IEP team of the need for further evaluations of T.M., the

need to revise her IEP goals to correspond with her abilities, and the need to revise

the type and degree of services provided to enable T.M. to make appropriate

progress. Accordingly, these facts relate to several identified issues for review—

failure to evaluate, draft, and revise T.M.’s IEPs.

   299.      As discussed above, the pleading standard for due process complaints

is lower than that of complaints filed in federal court and need only put the

respondent on notice of the nature of the alleged violation and how that impacted the

child’s education. Plaintiff’s due process complaint contained several allegations

related to the District’s failure to properly track and inform S.C. of T.M.’s progress,

including the incomplete nature of service logs provided to S.C. (See, e.g., Due

Process Complaint at ¶¶ 21, 78). Thus, Defendant was on notice of this issue.

   300.      The second issue the ALJ erroneously deemed outside the scope of

review is the District’s failure to adequately provide T.M. transportation to and from

school. Again, this issue was sufficiently raised in Plaintiff’s due process complaint



                                          54
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.55 Filed 04/13/23 Page 55 of 71




which contained allegations related to initial issues T.M. experienced with

transportation which then continued through her senior year. (See, e.g., Due Process

Complaint at ¶ 21). The complaint also contained allegations related generally to

S.C.’s concerns that T.M.’s IEPs were not being properly implemented. (See id. at

¶¶ 78, 83). The issue of transportation was also covered at the due process hearing.

(Tr. 101-103, 138). In fact, the ALJ overruled defense counsel’s objection that

testimony concerning the District’s failure to provide transportation was outside the

agreed-upon scope of the hearing, accepting Plaintiff counsel’s explanation that the

topic relates to the District’s failure to implementation of T.M.’s IEPs—an identified

issue for decision. (Tr. 99-100).

   301.      The third issue the ALJ erroneously deemed out of the scope of review

was S.C.’s transition plan. Transition plans are a required part of IEPs and proper

to consider as to whether the IEP was appropriate. The ALJ likewise overruled

defense counsel’s objection that the transition plan was outside the agreed-upon

scope of the hearing. (Id.)

   302.      For the foregoing reasons, the District failed to provide a free

appropriate public education to Plaintiff.

   303.      As a direct and proximate cause of MDE’s violations of the IDEA,

Plaintiff has suffered substantial harm to, among other things, her educational




                                         55
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.56 Filed 04/13/23 Page 56 of 71




experience and opportunity, academic and intellectual progress, and future earning

capacity.

                                      COUNT II
                          Discrimination based on disability
                           in violation of Section 504 of the
                       Rehabilitation Act, 29 U.S.C. § 794 et seq.

   304.      Plaintiff re-alleges all prior paragraphs as though fully set forth herein.

   305.      Section 504 of the Rehabilitation Act of 1973 (“Section 504”) and its

implementing regulations provide, in pertinent part, that “[n]o otherwise qualified

individual with a disability . . . shall, solely by reason of his or her disability, be

excluded from the participation in, be denied the benefits of, or be subjected to

discrimination under any        program or activity receiving Federal financial

assistance.” 20 U.S.C. § 794(a); see also 34 C.F.R. § 104.4(a).

   306.      A person is an “individual with a disability” under Section 504 if that

person experiences “a physical or mental impairment which substantially limits one

or more major life activities.” 29 U.S.C. § 705(20)(B) (incorporating definition in

42 U.S.C. § 12102 by reference).

   307.      “Major life activities” include, but are not limited to, “caring for

oneself, performing manual tasks, seeing, hearing, eating, sleeping, walking,

standing, lifting, bending, speaking, breathing, learning, reading, concentrating,

thinking, communicating, and working.” 42 U.S.C. § 12102(2)(A).



                                         56
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.57 Filed 04/13/23 Page 57 of 71




   308.      In the context of public K-12 education, a “qualified individual with a

disability” under Section 504 includes an individual with a disability of an age

during which persons who do not experience disabilities are provided K-12 public

education. 34 C.F.R. § 104.3(1)(2).

   309.      A “program or activity” includes public K-12 school districts and a

“department, agency, special purpose district, or other instrumentality of a State or

of a local government.” 29 U.S.C. § 794(b) (referencing 20 U.S.C. § 7801(30)).

   310.      Pursuant to 29 U.S.C. § 794(a), the predecessor to the U.S. Department

of Education promulgated regulations regarding application of Section 504’s

antidiscrimination mandate to K-12 schools that receive federal funding. The

obligations under these regulations are in addition to the general antidiscrimination

requirements of 29 U.S.C. § 794.

   311.      Under these regulations school districts must, inter alia:

          a. provide a free appropriate public education to each qualified (individual

             with a disability] who is in the recipient’s jurisdiction, regardless of the

             nature or severity of the person's [disability],” 34 C.F.R. § 104.33(a);

          b. “educate, or ... provide for the education of, each qualified [individual

             with a disability] in its jurisdiction with persons who [do not experience

             disabilities] to the maximum extent appropriate to the needs of the

             [individual with a disability].” 34 C.F.R. § 104.34(a);



                                          57
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.58 Filed 04/13/23 Page 58 of 71




        c. “place [an individual with a disability] in the regular educational

           environment operated by the recipient unless it is demonstrated by the

           recipient that the education of the person in the regular environment

           with the use of supplementary aids and services cannot be achieved

           satisfactorily. Whenever a recipient places a person in a setting other

           than the regular educational environment pursuant to this paragraph, it

           shall take into account the proximity of the alternate setting to the

           person's home.” 34 C.F.R. § 104.34(a);

        d. “ensure that [individuals with disabilities] participate with non

           [disabled] persons in [nonacademic and extracurricular services and

           activities, including meals, recess periods, and other nonacademic

           services] to the maximum extent appropriate to the needs of the

           [individual with a disability] in question.” 34 C.F.R. § 104.34(b). These

           nonacademic services include, but are not limited to: counseling

           services, athletics, transportation, health services, recreational

           activities, special interest groups or clubs sponsored by the recipients,

           and others. 34 C.F.R. § 104.37(a)(2);

        e. conduct evaluations in accordance with 34 C.F.R. § 104.35(b) “before

           taking any action with respect to the initial placement of the person




                                       58
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.59 Filed 04/13/23 Page 59 of 71




            [with a disability] in regular or special education and any subsequent

            significant change in placement.” 34 C.F.R. § 104.35(a);

          f. provide procedural safeguards, including, inter alia, notice, an

            opportunity to examine records, an impartial hearing, and a hearing

            review process. 34 C.F.R. § 104.36.

   312.     Under Section 504, FAPE requires the provision of regular or special

education and related aids and services that (i) are designed to meet individual

educational needs of [a child with a disability] as adequately as the needs of [non-

disabled students] are met and (ii) are based upon adherence to procedures that

satisfy the requirements of [34 C.F.R.] § 104.34, 104.35, and 104.36.”

   313.     Section 504’s K-12 education regulations apply to “preschool,

elementary, secondary, and adult education programs or activities that receive

Federal financial assistance and to recipients that operate, or that receive Federal

financial assistance for the operation of, such programs or activities.” 34 C.F.R. §

104.31.

   314.     The District is a “program or activity” under Section 504 and a recipient

of federal financial assistance for the provision of elementary and secondary

education and are therefore obligated to comply with Section 504 and the regulations

under 34 C.F.R. Part 104.




                                        59
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.60 Filed 04/13/23 Page 60 of 71




   315.      At all times pertinent to this Complaint, T.M. was eligible for

enrollment at the District, and eligible for the receipt of public K-12 education from

the District, including a FAPE under Section 504.

   316.      Through the acts and omissions set forth herein, the District, acting

under color of law, discriminated against T.M. based on disability and in violation

of Section 504, including, but not limited to, the following:

          a. The District denied T.M. the opportunity to participate in the benefits

             of public education equal to that provided to persons who do not

             experience disabilities, including having access to educational

             instruction in an amount equal to that of her same-age, non-disabled

             peers.

          b. The District failed to provide T.M. an opportunity to participate in or

             benefit from the public education equal to that provided to persons who

             do not experience disabilities.

          c. To the extent the District provided any public educational services to

             T.M. during the time pertinent to this Complaint, such services were

             not appropriate or reasonably calculated to provide T.M. an opportunity

             to participate in or benefit from the public education equal to that

             provided to persons who do not experience disabilities.




                                         60
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.61 Filed 04/13/23 Page 61 of 71




                d.    The District failed to educate T.M., or provide for T.M.’s

                education, equal to that provided for persons who do not experience

                disabilities to the maximum extent appropriate to T.M.’s needs.

    317.        The District denied T.M. a FAPE in violation of Section 504

regulations, based upon the foregoing allegations and such other violations of

Section 504 as may be discovered during the course of this matter. All such claims

are hereby reserved.

    318.        The District’s violations of Section 504 have caused, and continue to

cause, actual and proximate harm to T.M.

    319.        At the time the District violated T.M.’s rights under Section 504 as set

forth above, the District, and its respective agents, had knowledge that a harm to a

federally protected right was substantially likely, and were deliberately indifferent

to that risk.

    320.        The District, and its respective agents, acted with reckless or callous

indifference to T.M.’s federally protected rights under Section 504.

    321.        These repeated violations constitute a continuing violation of Section

504 of the Rehabilitation Act.

    322.        As a direct and proximate cause of the District’s violation of Section

504, Plaintiff has suffered substantial harm to, among other things, her educational




                                           61
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.62 Filed 04/13/23 Page 62 of 71




experience and opportunity, academic and intellectual progress, and future earning

capacity.

                                     COUNT III
                        Discrimination based on disability in
                     violation of Title II of the Americans with
                     Disabilities Act, 42 U.S.C. § 12101 et seq.

   323.      Plaintiff re-alleges all prior paragraphs as though fully set forth herein.

   324.      42 U.S.C. § 12132 provides that “no qualified individual with a

disability shall, by reason of such disability, be excluded from participation in or be

denied the benefits of the services, programs, or activities of a public entity, or be

subjected to discrimination by any such entity.”

   325.      The District is a public entity subject to Title II.

   326.      Plaintiff is a person with a disability within the meaning of the ADA.

42 U.S.C. § 12102.

   327.      The District intentionally violated Plaintiff’s rights under the ADA and

its regulations by denying her access to equal educational opportunities afforded to

students with disabilities; by excluding her from participation in and denying them

the benefits of the District’s and State’s services, programs, and activities; and by

subjecting her to discrimination. 42 U.S.C. § 12132.

   328.      The District otherwise intentionally discriminated against Plaintiff in

violation of 42 U.S.C. § 12132.




                                          62
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.63 Filed 04/13/23 Page 63 of 71




   329.      Disability discrimination under Title II also includes a public entity’s

failure to make reasonable modifications necessary to avoid disability

discrimination. 28 C.F.R. § 35.130(b)(7).

   330.      ADA regulations specify, inter alia, that it is unlawful discrimination

for a public entity either directly or through contractual, licensing, or other

arrangements to:

          a. “Deny a qualified individual with a disability the opportunity to

             participate in or benefit from the aid, benefit, or service;”

          b. “[a]fford a qualified individual with a disability an opportunity to

             participate in or benefit from the aid, benefit, or service that is not equal

             to that afforded others;”

          c. “[p]rovide a qualified individual with a disability with an aid, benefit,

             or service that is not as effective in affording equal opportunity to

             obtain the same result, to gain the same benefit, or to reach the same

             level of achievement as that provided to others,”

          d. “Aid or perpetuate discrimination against a qualified individual with a

             disability by providing significant assistance to an agency,

             organization, or person that discriminates on the basis of disability in

             providing any aid, benefit, or service to beneficiaries of the public

             entity’s program;”



                                          63
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.64 Filed 04/13/23 Page 64 of 71




          e. “Otherwise limit a qualified individual with a disability in the

             enjoyment of any right, privilege, advantage, or opportunity enjoyed by

             others receiving the aid, benefit, or service.” 28 C.F.R. § 35.130(b)(1).

   331.      Under the ADA regulations, “[a] public entity may not, directly or

through contractual or other arrangements, utilize criteria or methods of

administration: (1) That have the effect of subjecting qualified individuals with

disabilities to discrimination on the basis of disability; [or] (ii) That have the purpose

or effect of defeating or substantially impairing accomplishment of the objectives of

the public entity's program with respect to individuals with disabilities . . . .” 28

C.F.R. § 35.130(b)(3).

   332.      ADA regulations require public entities to “administer services,

programs, and activities in the most integrated setting appropriate to the needs of

qualified individuals with disabilities.” 28 C.F.R. § 35.130(d). Pursuant to statutory

authority, the U.S. Attorney General defined the “most integrated setting” as “a

setting that enables individuals with disabilities to interact with non-disabled persons

to the fullest extent possible.” Nondiscrimination on the Basis of Disability in State

and Local Government Services, 56 Fed. Reg. 35696, 35705 (July 26, 1991)

(incorporated at 28 C.F.R. pt. 35, App. B); see also 5 U.S.C. § 301.




                                           64
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.65 Filed 04/13/23 Page 65 of 71




   333.      “Individual with disability” and “major life activities” have the same

meaning under Title II of the ADA and under Section 504 as set forth above. 20

U.S.C. § 12102.

   334.      Under Title II of the ADA, a public entity includes any state or local

government and any “department, agency, special purpose district, or other

instrumentality of a State or States or local government.” 28 C.F.R. § 35.104.

   335.      “Qualified individual with a disability" under ADA Title II means “an

individual with a disability who, with or without reasonable modifications to rules,

policies, or practices, the removal of architectural, communication, or transportation

barriers, or the provision of auxiliary aids and services, meets the essential eligibility

requirements for the receipt of services or the participation in programs or activities

provided by a public entity.” 28 C.F.R. § 35.104.

   336.      Through the acts and omissions described herein, The District acting

under color of law, is discriminating against T.M. in violation of the ADA, including,

but not limited to the following ways:

          a. Denying T.M. the opportunity to participate in or benefit from

             educational services equal to that afforded to others;

          b. Denying T.M. educational services that are as effective in affording

             equal opportunity to obtain the same result, gain the same benefit, or

             reach the same level of achievement as that provided other students;



                                           65
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.66 Filed 04/13/23 Page 66 of 71




            c. Denying T.M. the opportunity to receive educational programs and

                services in the most integrated setting appropriate to her needs;

            d. Failing to make reasonable modifications to its programs and services

                necessary to avoid discrimination against T.M.;

            e. Utilizing methods of administration that have the effect of defeating or

                substantially impairing the accomplishment of the objectives of the

                District’s educational programs with respect to T.M.

    337.        At the time the District violated T.M.’s rights under the ADA as set

forth above, the District, and its respective agents, had knowledge that a harm to a

federally protected right was substantially likely, and were deliberately indifferent

to that risk.

    338.        The District, and its respective agents, acted with reckless or callous

indifference to T.M.’s federally protected rights under the ADA.

    339.        As a direct and proximate cause of the District’s violation of the ADA,

Plaintiff has suffered substantial harm to, among other things, her educational

experience and opportunity, academic and intellectual progress, and future earning

capacity.




                                            66
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.67 Filed 04/13/23 Page 67 of 71




                                    COUNT IV
                        Discrimination based on disability
                            in violation of Michigan’s
                     Persons with Disabilities Civil Rights Act
                              M.C.L. 37.1101 et seq.

      340.    Plaintiff re-alleges all prior paragraphs as though fully set forth herein.

      341.    The District is an education institution as defined in the Persons with

Disabilities Civil Rights Act (“PDCRA”). M.C.L. 37.1401 et seq.

      342.    Plaintiff is a person with a disability within the meaning of PDCRA.

Id.

      343.    PDCRA prohibits discrimination in educational institutions or facilities

because of a disability. M.C.L. 37.1302; M.C.L. 37.1402.

      344.    PDCRA prohibits educational institutions from discriminating against

an individual in the full utilization of or benefit from the institution, or the services,

activities, or programs provided by the institution because of a disability. M.C.L.

37.1402(a).

      345.    PDCRA prohibits places of public accommodation, including

educational facilities, from denying an individual the full and equal enjoyment of

the goods, services, facilities, privileges, advantages, or accommodations because of

a disability. M.C.L. 37.1302(a).




                                           67
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.68 Filed 04/13/23 Page 68 of 71




   346.        The District’s failure to accommodate T.M. and failure to provide T.M.

with a full and equal enjoyment of its services constitute discrimination under

PDCRA.

   347.        The District denied T.M. access to a public education on the basis of

her disability in violation of PDCRA.

   348.        As a direct and proximate cause of the District’s violation of PDCRA,

Plaintiff has suffered substantial harm to, among other things, her educational

experience and opportunity, academic and intellectual progress, and future earning

capacity.

                                        DAMAGES

   349.        Plaintiff re-alleges all prior paragraphs as though fully set forth herein.

   350.        As a direct and proximate result of the above-described conduct,

      Plaintiff suffered general, specific, incidental, and consequential injuries and

      damages, past, present, and future, in excess of the jurisdictional threshold of

      this Court, an amount that shall be fully proven at the time of trial. These

      past, present, and future damages include, but are not limited to, the

      following:

            a. Pain, suffering, and mental and emotional distress;

            b. Physical manifestations of emotional distress including

               embarrassment, loss of self-esteem, disgrace, and humiliation;


                                           68
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.69 Filed 04/13/23 Page 69 of 71




         c. Loss of her constitutional rights;

         d. Loss of education;

         e. Loss of employment;

         f. Economic loss;

         g. Loss of the ordinary pleasures of everyday life;

         h. Loss of relationships; and

         i. All other ordinary, incidental, or consequential damages that would or

            could be reasonably anticipated to arise under the circumstances.

                                REQUESTED RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Court grant judgment

against Defendant as follows:

   A. Issue a Declaratory Judgment, pursuant to 28 U.S.C. §§ 2201 and 2202, that

      the District violated the IDEA by knowingly failing to provide T.M. with a

      FAPE from July 2019 to April 2021;

   B. Vacate the January 13, 2023, Decision and Order of the ALJ;

   C. Award T.M. compensatory education in the form of two years of one-on-one

      instruction in reading, writing, and mathematics of eight hours a week each,

      amounting to 832 hours at $100.00 per hour, or $83,200.00;




                                         69
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.70 Filed 04/13/23 Page 70 of 71




   D. Award T.M. two years of weekly behavioral and mental health sessions

        lasting an hour each, amounting to 104 hours at $150.00 per hour, or

        $15,600.00;

   E. For past, present, and future non-economic damages in an amount to be

        determined at trial;

   F. For past, present, and future general, specific, incidental, and consequential

        damages in an amount to be determined at trial;

   G. For any appropriate statutory damages;

   H. For costs of this suit;

   I. For punitive damages, according to proof, as appropriate to the individual

        cause of action;

   J. For interest based on damages, as well as pre-judgment and post-judgment

        interest as allowed by law;

   K. For reasonable attorney fees, costs, and interest, to the fullest extent allowed

        by law; and

   L. Order any other and further relief, both legal and equitable, that this Court

        may deem just and proper.

                                      JURY DEMAND

        Now comes Plaintiff, by and through her attorneys, and demands a trial by

jury.


                                         70
Case 5:23-cv-10852-JEL-KGA ECF No. 1, PageID.71 Filed 04/13/23 Page 71 of 71




Dated:     April 13, 2023          Respectfully Submitted,

                                   s/ Elizabeth K. Abdnour
                                   Elizabeth K. Abdnour P78203
                                   Jacquelyn N. Babinski P83575
                                   ELIZABETH ABDNOUR LAW, PLLC
                                   1100 W. Saginaw St., Ste. 4A-2
                                   Lansing, MI 48915
                                   Telephone: (517) 292-0067
                                   Fax: (517) 709-7700
                                   elizabeth@abdnour.com
                                   jacquelyn.babinski@abdnour.com

                                   Attorneys for Plaintiff




                                    71
